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  9
 10                       UNITED STATES DISTRICT COURT
 11                    SOUTHERN DISTRICT OF CALIFORNIA
 12
 13   HELIX ENVIRONMENTAL                       Case No. 18-cv-02000-AJB-NLS
      PLANNING, INC., a California
 14
      corporation,                              DEFENDANT HELIX
 15                                             ENVIRONMENTAL AND
                  Plaintiff,                    STRATEGIC SOLUTIONS’
 16
                                                OPPOSITION TO PLAINTIFF’S
 17         v.                                  MOTION FOR ENTRY OF
                                                DEFAULT JUDGMENT
 18
      HELIX ENVIRONMENTAL AND
 19   STRATEGIC SOLUTIONS, a California         Date:      May 30, 2019
      corporation,                              Time:      2:00 p.m.
 20
                                                Courtroom: 4A
 21               Defendant.
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  1   I.    INTRODUCTION
  2         Helix Environmental Planning, Inc.’s (“Plaintiff”) Motion for Entry of
  3   Default Judgment against Defendant Helix Environmental and Strategic Solutions
  4   (“Defendant”) is not only premature, but entirely unjustified. First, the Motion is
  5   procedurally premature because it may be mooted if the Court grants Defendant’s
  6   motion to set aside default. (See Dkt. No. 9.) Second, the Motion is substantively
  7   deficient because it does not address or apply the relevant law for the relief it seeks;
  8   most significantly, it offers no argument as to why the draconian remedy of a
  9   permanent injunction should be granted. Accordingly, Defendant respectfully
 10   requests that the Court deny Plaintiff’s Motion in its entirety. In the alternative,
 11   Defendant requests that the Court defer any hearing or ruling on the Motion until
 12   after it has decided Defendant’s pending motion to set aside default.
 13   II.   STATEMENT OF FACTS
 14         On August 27, 2018, Plaintiff filed the Complaint. On August 31, 2018,
 15   Defendant’s counsel Chris Arledge contacted Plaintiff’s counsel Gary Eastman by
 16   phone and email to discuss the case. (Declaration of Christopher W. Arledge
 17   (“Arledge Decl.”) Ex. 1, at 8.) On October 19, 2018, Mr. Eastman emailed a
 18   settlement proposal and specifically represented that a waiver of service would
 19   allow the parties to negotiate settlement further and hold in abeyance Defendant’s
 20   duty to answer the Complaint: “[M]y date of Service for the Complaint is coming
 21   up; are you willing to accept service of the Complaint pursuant to a Rule 4 Waiver,
 22   thus allowing 60 days to further discussions of the resolution of the matter without
 23   your client having to file an Answer or otherwise respond?” (Id. (emphasis
 24   added).) Mr. Arledge agreed to waive service, making Defendant’s deadline to
 25   respond to the Complaint December 24, 2018. (Id., at 4-5.)
 26         The parties continued to discuss settlement until well past the response date.
 27   While waiting for Plaintiff to counter Defendant’s most recent proposals, Mr.
 28   Arledge requested a further extension on or before December 24, 2018. (Arledge

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  1   Decl. ¶ 12.) Opposing counsel never responded to that request. (Id.) On January 8,
  2   2019, Mr. Eastman finally responded with a letter that did not address any of the
  3   issues the parties had discussed in connection with a potential resolution, and
  4   instead demanded immediate capitulation by Defendant on all issues. (Arledge Decl.
  5   Ex. 2.) Mr. Arledge attempted to reach out to Mr. Eastman on January 18 and 24,
  6   2019, and left voicemail messages and emails in an attempt to understand Plaintiff’s
  7   position. (Arledge Decl. ¶¶ 15-20 & Exs. 3-4.) Mr. Eastman ignored the messages
  8   and filed the request for entry of default on January 18, 2019.
  9          Upon Defendant’s inquiry as to whether litigation would be necessary (see
 10   Arledge Decl. Ex. 3, at 1 (“Let’s talk one more time before committing to
 11   litigation.”)), and further, whether Plaintiff would stipulate to set aside the default
 12   (see Arledge Decl. Ex. 1, at 1-2), Mr. Eastman responded on January 30, 2019, that
 13   “absent your client’s unequivocal abandonment of the HELIX mark, then we will
 14   rely on the Default, and move forward accordingly.” (Id., at 1.) Plaintiff did not
 15   indicate when it intended to file a motion for default judgment.
 16          While Defendant was preparing its motion to set aside default, Plaintiff filed
 17   its Motion on February 4, 2019. Defendant filed its motion to set aside default on
 18   February 7, 2019. On February 8, 2019, Defendant’s counsel Jenny Kim reached out
 19   to Mr. Eastman to inquire as to whether the parties could stipulate to a briefing
 20   schedule that would allow Defendant’s motion to be heard first, potentially
 21   conserving the parties’ and the Court’s resources if Defendant’s motion is granted.
 22   (Declaration of Jenny Kim (“Kim Decl.”) ¶ 2.) Plaintiff refused to stipulate either to
 23   expedite Defendant’s motion, or to continue or withdraw Plaintiff’s Motion. (Id. at ¶
 24   3.)
 25   III.   ARGUMENT
 26          “Our starting point is the general rule that default judgments are ordinarily
 27   disfavored. Cases should be decided upon their merits whenever reasonably
 28   possible.” Eitel v. McCool, 782 F.2d 1470, 1472 (9th Cir. 1986). The Court may,

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  1   however, in its discretion enter default judgment against a party who fails to plead
  2   or defend a case. Fed. R. Civ. P. 55(b)(2). In exercising its discretion, the Court may
  3   consider the seven factors outlined in Eitel: (1) the possibility of prejudice to the
  4   plaintiff, (2) the merits of plaintiff’s substantive claim, (3) the sufficiency of the
  5   complaint, (4) the sum of money at stake in the action, (5) the possibility of a
  6   dispute concerning material facts, (6) whether the default was due to excusable
  7   neglect, and (7) the policy favoring decisions on the merits. Eitel, 782 F.2d at 1471-
  8   72.
  9           Plaintiff’s Motion does not adequately address the Eitel factors, and certainly
 10   does not overcome the general rule disfavoring default judgment. Moreover,
 11   Plaintiff does not cite sufficient legal authority and provides no factual support that
 12   the Court may grant the relief it seeks. Plaintiff’s Motion should be denied.
 13           A.     Eitel Factor 1: Prejudice to Plaintiff
 14           Regarding the first Eitel factor, Plaintiff identifies two points of potential
 15   prejudice: (1) Plaintiff’s “reputation and profits are continuously harmed by
 16   Defendant’s use of Helix’s trade name in the same geographic region for the same
 17   or similar services”; and (2) “Defendant’s conduct thus far suggests that in the
 18   absence of default judgment, Defendant is likely to continue to neglect and delay the
 19   present proceedings, prolonging Defendant’s infringement of Helix’s mark, and
 20   causing significant ongoing harm to both Helix and the public” (Mot.1 5-6)—which
 21   is essentially a rephrasing of the first point.
 22           It is demonstrably untrue that Defendant is likely to delay the proceedings. As
 23   set forth in its motion to set aside default (Dkt. No. 9), Defendant did not evade or
 24   neglect its duties to litigate this case on the merits.2 On the contrary, it engaged in
 25   settlement discussions in good faith and expeditiously moved to set aside default as
 26   soon as Plaintiff conveyed on January 30, 2019, that the settlement discussions had
 27
      1
 28       Where cited, the “Motion” or “Mot.” refers to Dkt. No. 7-1.
      2
          See also Eitel factor 6, infra.
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  1   come to an end. This is not a case where “past misconduct and current failure to
  2   litigate [a] case indicate that [defendants are] highly unlikely to correct past
  3   misbehavior or otherwise compensate [the plaintiff] without a default judgment by
  4   the Court.” Kerr Corp. v. Tri Dental, Inc., 2013 U.S. Dist. LEXIS 35728, at *7
  5   (C.D. Cal. Mar. 11, 2013). Plaintiff still has a remedy available to it if a default
  6   judgment is not entered: a litigated judgment.
  7         To the extent Plaintiff is arguing that it is prejudiced by the alleged
  8   infringement, not the delay, this is not a sufficient reason to dispense with an
  9   adjudication on the merits. “It should be obvious why merely being forced to litigate
 10   on the merits cannot be considered prejudicial for purposes of lifting a default
 11   judgment.” TCI Grp. Life Ins. Plan v. Knoebber, 244 F.3d 691, 701 (9th Cir. 2001)
 12   (overruled on other grounds). Since “vacating the default judgment merely restores
 13   the parties to an even footing in the litigation,” id., Plaintiff will not be prejudiced if
 14   Defendant has a full and fair opportunity to present its defense, including the
 15   defenses that the asserted trademark is invalid and that there is little or no likelihood
 16   of confusion.
 17         B.     Eitel Factors 2 and 3: Merit and Sufficiency of the Claims
 18         Though Plaintiff acknowledges that the standard for analyzing the second and
 19   third Eitel factors is similar to a Rule 12(b)(6) motion (see Mot. 6 (“Eitel factors two
 20   and three, which are generally analyzed together, simply ‘require that a plaintiff
 21   state a claim on which [it] may recover.’” (citation omitted))), Plaintiff falls far short
 22   of explaining how the allegations in the Complaint state valid claims. Instead,
 23   Plaintiff summarily concludes: “Helix’s Complaint properly alleged the necessary
 24   elements for each cause of action, leaving the Court the capacity to grant relief as to
 25   all of them.” (Id.)
 26         Plaintiff’s non sequitur conclusion about the Court’s capacity does not ensure
 27   that the claims have merit or that the Complaint is sufficient, as required by Eitel
 28   factors 2 and 3. As an initial matter, as set forth in Defendants proposed answer (see

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  1   Dkt. No. 9-3), Defendant denies the truth of several of the factual allegations in the
  2   Complaint. But even if the Court were to assume that each and every allegation is
  3   true and all inferences are drawn in Plaintiff’s favor, the Motion still does not
  4   demonstrate how liability can be established.
  5            The Complaint asserts five causes of action for alleged violations of 15
  6   U.S.C. §1114(1) (trademark infringement), 15 U.S.C. § 1125(a) (false designation
  7   of origin, false or misleading description of fact, or false or misleading
  8   representation of fact), 15 U.S.C. § 1125(d) (cybersquatting), California Business &
  9   Professions Code § 17200 et seq. (unfair competition), and common law
 10   infringement and unfair competition. Though Plaintiff gives the most cursory nod to
 11   the legal elements of some of the claims, its application of the law to the facts does
 12   not come close to meeting its burden of proof. For example, in discussing the
 13   likelihood of confusion, Plaintiff mentions only four of the eight Sleekcraft factors:
 14   strength of the marks, similarity of the goods, similarity of the marks, and similarity
 15   of the trade channels. (Mot. 9.) See AMf Inc. v. Sleekcraft Boats, 599 F. 2d 341, 348-
 16   49 (9th Cir. 1979) (identifying the relevant factors as (1) strength of the mark; (2)
 17   proximity of the goods; (3) similarity of the marks; (4) evidence of actual confusion;
 18   (5) marketing channels used; (6) type of goods and the degree of care likely to be
 19   exercised by the purchaser; (7) defendant's intent in selecting the mark; and (8)
 20   likelihood of expansion of the product lines). Plaintiff fails to identify the elements
 21   of unfair competition all together, under either statutory law or common law, and
 22   therefore has no way of arguing or proving that all the elements for these claim have
 23   been met. The bare-bones conclusions offered by Plaintiff would not even be
 24   enough to oppose a Rule 12(b)(6) motion in which the defendant bears the burden of
 25   proof.
 26            Plaintiff’s Motion is nothing more than a naked request for the Court to
 27   accept, without examination, that Plaintiff’s Complaint is good and proper, such that
 28   Plaintiff should be awarded the drastic relief of a final judgment before Defendant

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  1   has had an opportunity to be heard. Plaintiff’s request for such an obvious due
  2   process violation should be denied.3
  3         C.     Eitel Factor 4: The Sum of Money at Stake
  4         Defendant does not dispute that the Motion seeks only a judgment for
  5   declaratory and injunctive relief. If, however, Plaintiff were to take the position that
  6   it is entitled to damages, it has wholly failed to prove up the amount. Thus, any legal
  7   remedy is unwarranted because Plaintiff has offered no evidentiary support for lost
  8   profits, unjust enrichment, or reasonable royalty, or any other measure of damages
  9   permitted under the claims asserted in the Complaint.
 10         D.     Eitel Factor 5: The Possibility of Dispute over Material Facts
 11         Plaintiff invites the Court to rely on Plaintiff’s subjective judgment that there
 12   exists a likelihood of confusion: “The names of the two companies (Helix
 13   Environmental Planning, and Helix Environmental and Strategic Solutions) speak
 14   for themselves . . . .” (Mot. 7.) But likelihood of confusion is a question of ultimate
 15   fact that is vigorously disputed in litigation after extensive fact and expert discovery.
 16   If the case were to be litigated on the merits, rather than decided on a procedural
 17   sleight of hand, the parties are certain to have a dispute over material facts. Among
 18   other things, Defendant will argue that Plaintiff’s rights in the asserted mark are
 19   subject to either no protection or very narrow protection because “Helix” is a
 20   geographic term. Moreover, because the parties are in different industries, and
 21   Plaintiff’s customer base consists of entities that are large and sophisticated, there is
 22   little or no likelihood of confusion.
 23         Though Plaintiff argues that “none of the allegations, in the absence of an
 24   answer to the Complaint, have been or can be genuinely disputed” (id.), this
 25   presumption cannot work in Plaintiff’s favor where, as here, Defendant has moved
 26
 27   3
        To the extent that Plaintiff attempts to cure these deficiencies in a reply, Defendant
 28   respectfully requests that the arguments be stricken. Such matter should have been
      presented in the opening Motion so that Defendant has an opportunity respond.
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  1   to set aside default and requested leave to file an answer. (See Dkt. No. 9-3.) Cf.
  2   Nat’l Photo Grp., LLC v. Pier Corp., 2014 U.S. Dist. LEXIS 195663, at *6 (C.D.
  3   Cal. Mar. 10, 2014) (“Where the [p]laintiff’s complaint is well-pleaded and the
  4   defendant makes no effort to properly respond, the likelihood of disputed facts is
  5   very low.”). Defendant has made several efforts properly to respond to the
  6   Complaint, including seeking a stipulation from Plaintiff to set aside default.
  7   Defendant then filed a motion that the Court set aside default because Plaintiff
  8   refused to stipulate. Plaintiff, in fact, has denied every courtesy possible, even
  9   refusing to stipulate to the most minimal procedural accommodation that would
 10   have enabled Defendant to participate in the case while also streamlining costs for
 11   Defendant, Plaintiff, and the Court: by agreeing to a briefing schedule that allows
 12   the present Motion for default judgment to be heard after Defendant’s potentially
 13   mooting motion to set aside the default. When Plaintiff is willing to incur extra costs
 14   to itself—and the Court—simply to guarantee that Defendant does not have a
 15   chance to participate in a fair adversarial process, Defendant cannot be faulted for
 16   Plaintiff’s achieving its goal. Thus, the fact that an answer has not been filed carries
 17   little weight in proving that material facts will not be in dispute.
 18         E.     Eitel Factor 6: Default Was Due to Excusable Neglect
 19         As set forth in Defendant’s pending motion to set aside default, the default
 20   was entered as a result of excusable neglect, if not outright misrepresentation by
 21   Plaintiff. (See Dkt. No. 9.)
 22         Defendant relied on Plaintiff’s counsel’s false and misleading promises of
 23   ongoing settlement discussions, which included an explicit understanding that
 24   Plaintiff would not require Defendant to file an answer or engage in expensive
 25   litigation while the discussions were pending: Plaintiff’s counsel offered that
 26   waiving service would “allow[] 60 days to further discussions of the resolution of
 27   the matter without your client having to file an Answer or otherwise respond[.]”
 28   (Arledge Decl. Ex. 2, at 5 (emphasis added).) When Defendant’s counsel requested

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  1   a renewal of that same condition at a time when Plaintiff was considering
  2   Defendant’s settlement offer, but had not yet made a counteroffer, Plaintiff’s
  3   counsel neither accepted nor refused the request. He simply, and inexplicably,
  4   ceased to respond. Plaintiff ultimately did not make its counteroffer—that
  5   Defendant capitulate in all respects—until after Defendant’s deadline to answer the
  6   Complaint had passed, and its counsel evaded all attempts by Defendant’s counsel
  7   to understand Plaintiff’s position both with respect to the substance and procedural
  8   status of the case. Plaintiff is not entitled to a default judgment because it actively
  9   deprived Defendant of an opportunity to participate in a fair adversarial process with
 10   the false promise of a compromise. See United States v. Throckmorton, 98 U.S. 61,
 11   65-66 (1878) (setting aside judgment “[w]here the unsuccessful party has been
 12   prevented from exhibiting fully his case, by fraud or deception practised on him by
 13   his opponent, as by keeping him away from court [or] a false promise of a
 14   compromise . . . “ (emphasis added)).
 15         In the alternative, even if Plaintiff’s counsel did not engage in conduct that
 16   arises to the level of fraud or misconduct, the default was entered at least as a result
 17   of mistake or excusable neglect. In Pioneer Investment Services v. Brunswick
 18   Associates, the United States Supreme Court stated that, “for purposes of Rule
 19   60(b), ‘excusable neglect’ is understood to encompass situations in which the
 20   failure to comply with a filing deadline is attributable to negligence.” 507 U.S. 390,
 21   394 (1993) (emphasis added). Here, the default was caused by Defendant’s failure
 22   timely to answer the Complaint based on a mistaken understanding of the status of
 23   parties’ settlement discussions. Defendant did not try to evade the lawsuit or engage
 24   in bad faith tactics, and on the contrary generally responded to emails from
 25   Plaintiff’s counsel within hours. Unlike Plaintiff, Defendant never caused or invited
 26   uncertainty about its willingness to negotiate a settlement. Defendant committed
 27   only one error in not filing its answer on December 24, 2018, after Plaintiff failed to
 28   agree to extend that deadline. Defendant apologizes to the Court for that error, and

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  1   submits that its oversight is the kind of failure to comply with a filing deadline that
  2   courts have recognized as excusable neglect.
  3         Taking into account all the relevant circumstances, the sixth Eitel factor
  4   weighs against default judgment because the default was caused by at least
  5   excusable neglect.
  6         F.      Eitel Factor 7: Policy Favoring Decisions on the Merits
  7          “It is well settled that the Federal Rules of Civil Procedure are to be liberally
  8   construed to effectuate the general purpose of seeing that cases are tried on the
  9   merits and to dispense with technical procedural problems.” Rodgers v. Watt, 722
 10   F.2d 456, 459 (9th Cir. 1983) (quoting Staren v. Am. Nat'l Bank & Trust Co. of
 11   Chicago, 529 F.2d 1257, 1263 (7th Cir. 1976)). For the reason stated above, a
 12   decision on the merits is not possible with a default judgment here because (1)
 13   material facts are in dispute, and (2) Defendant was deprived of an opportunity to
 14   participate in a fair adversarial process. Thus, the seventh Eitel factor weighs against
 15   default judgment.
 16         G.      Permanent Injunction Is Not Warranted
 17         Plaintiff cites no relevant law in requesting the weighty remedy of a
 18   permanent injunction. To establish a basis for injunctive relief, a plaintiff must
 19   demonstrate (i) it has suffered an irreparable injury; (ii) remedies available at law,
 20   such as monetary damages, are inadequate to compensate for that injury; (iii) that
 21   considering the balance of hardships between the plaintiff and defendant, a remedy
 22   in equity is warranted; and (iv) the public interest would not be disserved by a
 23   permanent injunction. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391
 24   (2006). A grant of permanent injunctive relief is an act of equitable discretion by the
 25   Court. La Quinta Worldwide LLC v. Q.R.T.M., S.A. de C.V., 762 F.3d 867, 880 (9th
 26   Cir. 2014).
 27         Plaintiff literally gives not one reason why injunctive relief is warranted. It
 28   only provides a litany of items it would like the Court to include the default

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  1   judgment: “[T]his Court should enter a permanent injunction forever enjoining and
  2   restraining Defendant and its agents, officers, attorneys, employees, successors,
  3   assigns, affiliates, and any persons in privity or active concert or participation with
  4   any of them from using the terms ‘Helix’, ‘Helix Environmental’, and
  5   ‘helixenvironmental.com’, with or without its accompanying logo, or any words,
  6   phrases, symbols, logos, or combination of words and symbols that would create a
  7   likelihood of confusion, mistake, and/or deception with the HELIX
  8   ENVIRONMENTAL PLANNING service mark and trade name in connection with
  9   environmental services,” and further requests a destruction order, an order that
 10   Defendant submit a compliance report, and an order to transfer the accused domain.
 11   (See Mot. 13-14.)
 12         Because Plaintiff has not taken the position that it will suffer an irreparable
 13   injury; that monetary damages are unavailable or inadequate; that the balance of
 14   hardships weighs in Plaintiff’s favor; and the public interest is not disserved by a
 15   permanent injunction, the Court should decline to make such findings ex nihilo. As
 16   Plaintiff has implicitly admitted, there are no facts to support granting a permanent
 17   injunction.
 18   IV.   CONCLUSION
 19         For the foregoing reasons, Defendants respectfully requests that the Court
 20   deny Plaintiff’s Motion for default judgment. In the alternative, Defendant submits
 21   that the Motion is premature and should be deferred until after the Court has
 22   considered Defendant’s pending motion to set aside default.
 23   Dated: February 19, 2019                           ONE LLP
 24
                                              By: /s/ Jenny S. Kim
 25
                                                  Christopher W. Arledge
 26                                               Jenny S. Kim
                                                  Attorneys for Defendant,
 27                                               Helix Environmental and Strategic
                                                  Solutions
 28

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  1                            CERTIFICATE OF SERVICE
  2         I certify that on February 19, 2019, the foregoing document was electronically
  3   filed with the Clerk of the Court using the CM/ECF system, which will send
  4   electronic notification of such filing to the CM/ECF participant(s) noted below:
  5
  6   Gary L. Eastman
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 15   Helix Environmental and Strategic Solutions
 16
 17
 18                                              /s/ Jenny S. Kim
                                                 Jenny S. Kim
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